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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA



 MICHEL KUMBAZ KILZI                                           CASE NUMBER
                                                                  1:22−cv−20609−RNS
                        PLAINTIFF(S)

                              v.

 ALL SMOOTH LAWN MAINTENANCE &
 LANDSCAPING, INC., et al.,
                                                                      DEFAULT BY CLERK F.R.Civ.P.55(a)


                      DEFENDANT(S).




                                                 Clerk's Default
       It appearing that the defendant(s) herein, is/are in default for failure to appear, answer, or otherwise plead

 to the complaint filed herein within the time required by law.

 Default is hereby entered against defendant(s)

 All Smooth Lawn Maintenance and Landscaping, Inc
 Ismael Garcia, Sr.




 as of course, on the date March 23, 2022.
                                                             Angela E. Noble
                                                             CLERK OF COURT

                                                             By /s/ Collette Quinones
                                                             Deputy Clerk

 cc: Judge Robert N. Scola, Jr
     Michel Kumbaz Kilzi

                                              DEFAULT BY CLERK F.R.Civ.P.55(a)

 CV−37 (10/01)
